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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 VANESSA CLAIRE DAVIS,
                                                     CIVIL COMPLAINT
               Plaintiff,

 v.                                                  CASE NO. 1:17-cv-03135

 MONTGOMERY WARD, INC.,
                                                     DEMAND FOR JURY TRIAL
               Defendant.


                                          COMPLAINT

        NOW comes VANESSA CLAIRE DAVIS (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of MONTGOMERY

WARD, INC. (“Defendant”) as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

Act (“TCPA”) under 47 U.S.C. §227 and the Illinois Consumer Fraud and Deceptive Business

Practices Act (“ICFA”) under 815 ILCS 505/1 for Defendant's unlawful practices.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States. Supplemental jurisdiction exists for the state law claim

pursuant to 28 U.S.C. §1367.




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   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Northern District of Illinois and a substantial portion of the events or omissions giving rise

to the claims occurred within the Northern District of Illinois.

                                              PARTIES

   4. Plaintiff is a 59 year old natural person residing at 3 West 120th Street, Chicago, Illinois,

which falls within the Northern District of Illinois.

   5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

   6. Defendant is a catalog and online retailer offering household goods to customers on a

nationwide basis. Defendant’s principal place of business is located at 1112 7th Avenue, Monroe,

Wisconsin. Defendant regularly conducts business with consumers in Illinois.

   7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

   8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

   9. In approximately March 2016, Plaintiff purchased home furniture on credit from

Defendant. See attached Exhibit A for a true and correct copy of an affidavit signed by Plaintiff.

   10. After experiencing financial hardship, Plaintiff became late with her payments to

Defendant, thus incurring debt (“subject debt”). See Exhibit A.

   11. Plaintiff even made an agreement with Defendant to have it pick up the items from her

home. Id.

   12. In approximately May 2016, Plaintiff started receiving calls to her cellular phone, (312)

XXX-2047 from Defendant. Id.



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   13. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 2047. Plaintiff is and has always been financially

responsible for the cellular phone and its services.

   14. The phone number that Defendant most often calls Plaintiff from is (877) 621-3550. Id.

   15. Upon information and belief, the phone number ending in 3550 is regularly utilized by

Defendant to contact consumers in Illinois during its debt collection activities.

   16. When answering calls from Defendant, Plaintiff experiences a brief pause, lasting

approximately four to five seconds in length, before a live representative begins to speak. Id.

   17. Upon speaking with one of Defendant’s representatives, Plaintiff was informed that it was

attempting to collect upon the subject debt. Id.

   18. Plaintiff explained to Defendant that it had already agreed to pick up the merchandise, but

upon its refusal to understand the situation, she demanded that it stop contacting her. Id.

   19. Plaintiff has told Defendant to stop calling her on multiple occasions. Id.

   20. For instance, Plaintiff demanded that Defendant stop calling her on August 23, 2016, and

reiterated her demands on September 15, 2016.

   21. Despite Plaintiff’s demands, Defendant has continued to regularly call her cellular phone

up until the date of the filing of this complaint. Id.

   22. Even after being told to stop contacting her, Defendant has called Plaintiff’s cellular phone

multiple times during the same day. Id.

   23. When Plaintiff does not answer calls from Defendant, it leaves her a voice message on her

cellular phone, stating that it is attempting to collect upon the subject debt. Id.

   24. Plaintiff has received at least 21 calls from Defendant after asking it to stop calling. Id.




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   25. Frustrated over the persistent calls, Plaintiff spoke with Sulaiman regarding her rights,

resulting in costs and expenses.

   26. Plaintiff has suffered financial loss as a result of Defendant’s actions.

   27. Plaintiff has been unfairly harassed by Defendant's actions.

   28. Plaintiff has suffered actual harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies collection telephone calls, emotional

distress, increased risk of personal injury resulting from the distraction caused by the never-ending

calls, increased usage of her telephone services, loss of cellular phone capacity, diminished cellular

phone functionality, decreased battery life on her cellular phone, and diminished space for data

storage on her cellular phone.


          COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   29. Plaintiff repeats and realleges paragraphs 1 through 28 as though fully set forth herein.

   30. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   31. Defendant used an ATDS in connection with its communications directed towards

Plaintiff. The brief pause, lasting approximately four to five seconds in length, that Plaintiff

experienced during answered calls before being connected to a live representative of Defendant is

instructive that an ATDS was being used. Similarly, the frequency and nature of Defendant’s calls

strongly suggests that an ATDS was being utilized.




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   32. Defendant violated the TCPA by placing phone calls to Plaintiff’s cellular phone using

an ATDS without her consent. Any consent Plaintiff may have given to be contacted by Defendant

using an ATDS was explicitly revoked upon her numerous demands to cease contact The calls

placed by Defendant to Plaintiff were regarding attempted business transactions and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   33. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff for

at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, VANESSA CLAIRE DAVIS, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


                       COUNT II – VIOLATIONS OF THE ILLINOIS
                CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT

   34. Plaintiff restates and realleges paragraphs 1 through 33 as though fully set forth herein.

   35. Plaintiff is a “person” and “consumer” as defined by 815 ILCS 505/1(c) and (e) of the

ICFA.




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   36. Defendant’s attempted collection calls to Plaintiff are “trade” and “commerce” as defined

by 815 ILCS 505/1(f) of the ICFA.

   37. The ICFA states:

               “Unfair methods of competition and unfair or deceptive acts or
               practices, including but not limited to the use or employment of any
               deception, fraud, false pretense, false promise, misrepresentation or
               the concealment, suppression or omission of any material fact, with
               intent that others rely upon the concealment, suppression or
               omission of such material fact . . . in the conduct of any trade or
               commerce are hereby declared unlawful whether any person has in
               fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

   38. Defendant violated 815 ILCS 505/2 by engaging in an unfair and deceptive act or practice

in contacting Plaintiff. It was unfair for Defendant to relentlessly contact Plaintiff through means

of an ATDS when she notified it to cease calling her on at least two occasions. After Plaintiff

realized that Defendant was seeking to collect upon a debt and she was not in a position to make a

payment, she told it to stop calling. Defendant ignored Plaintiff’s demands and continued to

systematically place calls to her cellular phone without her consent. Following its characteristic

behavior in placing voluminous calls to consumers, Defendant engaged in an unfair and deceptive

act, willfully done with the hope that Plaintiff would be compelled to make payment.

   39. Defendant has also placed multiple calls to Plaintiff’s cellular phone in the same day, even

after being told to cease calling. Placing several calls in a short amount of time is extremely

harassing behavior that amounts to unfair practice, especially after being told by Plaintiff that she

does not wish to be contacted.

   40. The ICFA was designed to protect consumers, such as Plaintiff, from the exact behavior

committed by Defendant.

   41. The ICFA further states:




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               “Any person who suffers actual damage as a result of a violation of
               this Act committed by any other person may bring an action against
               such person. The court, in its discretion may award actual economic
               damages or any other relief which the court deems proper.” 815
               ILCS 505/10a.

   42. As plead in paragraphs 24 through 28, Plaintiff has suffered actual damages as a result of

Defendant’s unlawful practices. As such, Plaintiff is entitled to relief pursuant to 815 ILCS

505/10a.

   43. An award of punitive damages is appropriate because Defendant’s conduct was

outrageous, willful and wanton, and showed a reckless disregard for the rights of Plaintiff.

Defendant acted in defiance of Plaintiff’s prompts. Defendant was notified by Plaintiff that she

did not wish to be contacted. Yet, Plaintiff was still bombarded with collection phone calls from

Defendant. In an unfair and deceptive manner, Defendant called Plaintiff at least 21 times and

even called multiple times during the same day. This onslaught of phone calls was an attempt by

Defendant to harass Plaintiff into submission. After Plaintiff first demanded that it stop calling

her, Defendant had more than enough information to know that it should not continue placing

phone calls to her cellular phone. However, Defendant continued to contact Plaintiff and was once

again told to stop calling. Defendant, in defiance of the law, still engaged in this harassing

behavior, and falsely and deceptively represented that it had the legal ability to contact Plaintiff

seeking collection of debt when it did not. Upon information and belief, Defendant regularly

engages in the above described behavior against consumers in Illinois and for public policy reasons

should be penalized.

   WHEREFORE, Plaintiff, VANESSA CLAIRE DAVIS, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

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   b. Awarding Plaintiff actual and punitive damages, in an amount to be determined at trial,
      for the underlying violations;

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: April 26, 2017                               Respectfully submitted,

s/ Nathan C. Volheim                                s/Taxiarchis Hatzidimitriadis
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